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               Exhibit C
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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

 PAUL CULBERTSON, KATHY NEAL,
 KELLY ALLISON-PICKERING, JESSICA                   Case No.: 1:20-cv-3962-LJL (lead case)
 HAIMAN, ALEXANDER CABOT, BRIANA
 JULIUS, NICHELLE NEWLAND,                          Consolidated with
 BERNADETTE NOLEN and ALEXANDRIA                    Case No.: 1:20-cv-4129-LJL
 POLICHENA, individually and on behalf of all       Case No.: 1:20-cv-4077-LJL
 others similarly situated,                         Case No.: 1:20-cv-4362-LJL
                                                    Case No.: 1:20-cv-5070-LJL
                             Plaintiffs,

        v.

 DELOITTE CONSULTING LLP,

                             Defendant.


                         DECLARATION OF KATRINA CARROLL

       I, Katrina Carroll, declare as follows:

       1.      I am the managing partner of the Chicago, Illinois office of Carlson Lynch LLP,

and am a member in good standing of the bars of the States of Illinois and New Jersey.

       2.      I submit this Declaration in support of the motion for appointment of leadership

counsel under Fed. R. Civ. P. 23(g), in which I am seeking appointment as a member of the

Interim Executive Committee. I have personal knowledge of the facts stated herein.

       3.      I have litigated class actions since 2001 and am experienced, committed, and

dedicated to the prosecution of complex class action cases like this one. My firm and I have the

expertise, resources, and personnel necessary to prosecute the action to the fullest extent

necessary.

       4.      I have been appointed to leadership positions in numerous complex and class

cases, including data breach and privacy-related actions like this one, such as: Lewert v. PF

Chang’s China Bistro, Inc., 1:14-cv-04787 (N.D. Ill.) (co-lead counsel, achieved landmark
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appellate ruling in the Seventh Circuit confirming that increased risk of identity theft can be a

concrete injury-in-fact for standing purposes); In re Ashley Madison Customer Data Sec. Breach

Litigation, 4:15-md-2669 (E.D. Mo.) (Plaintiffs’ Steering Committee, settlement of $11.2 million

approved); Salam v. Lifewatch, Inc., No. 1:13-cv-09305 (N.D. Ill.) (co-lead counsel in action

brought under Telephone Consumer Protection Act, obtained class certification in contested

litigation).

        5.      I also have extensive experience prosecuting class and complex actions involving

products liability, antitrust, securities, and other types of cases. For instance, I successfully

served as co-lead counsel in In Re: Rust-Oleum Restore Marketing, Sales Practices and Products

Liability Litigation, 1:15-cv-1364 (N.D. Ill.), a sprawling products liability MDL class action

which ended in a class settlement. During the final hearing, the Honorable Amy J. St. Eve, now a

sitting justice on the Seventh Circuit, commended me and my work in that case as a “model I

wish all lawyers would follow.”

        6.      I believe I have a strong record of working collaboratively with other attorneys,

both on the plaintiff’s side and the defense side. I am familiar with and have longstanding, civil

working relationships with several of the other attorneys seeking appointments in this case.

        7.      Outside of the courtroom, I am an active participant and panelist at symposiums

and conferences related to class action litigation and the promotion of women attorneys in the

field. Recently I have made presentations at: Mass Torts Made Perfect (2018, 2019); Practicing

Law Institute’s Consumer Financial Services Institute (2018); the American Bar Association’s

Section of Litigation Annual Conference (2018); and the Class Action Mastery Program hosted

by HB Litigation Conferences (2018). In April 2018, I was honored to appear as a panelist at

“May it Please the Court: Symposium on Women Lawyers in the Courtroom,” a prestigious
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event sponsored by the United States District Court for the Northern District of Illinois and the

Chicago Bar Association.

       8.      Further descriptions of my qualifications and experience, as well as that of my

firm, Carlson Lynch LLP, are provided in the attached copy of the firm resume.



       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       Dated: August 13, 2020                        /s/ Katrina Carroll

                                                     Katrina Carroll
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                Exhibit 1
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                      FIRM RESUME
                      AUGUST 2020
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                                        FIRM SUMMARY

        With offices in Pittsburgh, San Diego, Los Angeles, and Chicago, Carlson Lynch is a
national firm specializing in complex class and collective actions, and is involved in several high-
profile multidistrict litigation proceedings. The attorneys of Carlson Lynch LLP (“Carlson
Lynch”) have litigated complex class-action matters involving financial fraud (including securities
fraud, derivative actions, and mortgage fraud), data breach, privacy, consumer fraud, labor and
employment, antitrust, civil rights, and wage and hour laws, in federal and state courts throughout
the country. Litigation prosecuted by Carlson Lynch has resulted in substantial monetary
recoveries and injunctive benefits on behalf of class members, described in more detail below. In
addition, Carlson Lynch cases have generated seminal legal authority in both trial and appellate
courts.

        Carlson Lynch was founded in 2004 by Bruce Carlson and Gary Lynch, who started the
firm to merge and build upon their collective experiences litigating complex class action matters.
In 2015, the firm expanded to the west coast with the addition of its San Diego office, managed
by Todd Carpenter. Continuing its growth, in 2019, the firm added an office in Chicago, managed
by Katrina Carroll, and its Los Angeles office, managed by Eddie (Jae) K. Kim.

                                       NOTABLE CASES 1

                                     PRIVACY/DATA BREACH

In re Equifax, Inc. Customer Data Security Breach Litig., MDL 2800 (N.D. Ga.). Gary Lynch
was appointed co-lead counsel for financial institution plaintiffs in multidistrict litigation related
to the notorious 2017 Equifax data breach, which is potentially the largest and most damaging data
breach of all time. More than 400 lawsuits filed by consumers and financial institutions were
consolidated in the MDL. The court granted preliminary approval to a proposed class action
settlement on June 5, 2020.

In re Marriott International Customer Data Security Breach Litigation, MDL No. 2879 (D.
MD.). Gary Lynch was appointed to the Plaintiffs’ Steering Committee in this multidistrict
litigation related to the data breach involving Starwood guest information dating back to at least
2014. The MDL includes more than 100 cases and is in pretrial litigation.

In re Home Depot Customer Data Breach Litig., 1:14-md-02583, MDL 2583 (N.D. Ga.). Carlson
Lynch represents five different financial institutions in litigation related to the major data breach
at the retailer which continued for almost six months in 2014 and resulted in the compromise of
approximately 56 million payment card accounts. Gary Lynch was appointed by Judge Thrash to
be one of three lead counsel managing the financial institution track of the litigation. Over forty

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      This Firm Resume is intended to be representative and is not comprehensive. Carlson
Lynch has prosecuted, and continues to prosecute, many substantial cases that are not identified
here.
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financial institutions and seventeen credit union associations filed a consolidated complaint in May
2015. Judge Thrash denied the majority of Home Depot’s motion to dismiss on May 18, 2016. In
September 2017, the Court granted final approval to a comprehensive settlement that provides over
$27 million in relief to the class.

In re Target Corporation Customer Data Breach Litig., 0:14-md-02522, MDL 2522 (D. Minn.).
Carlson Lynch represents nine different financial institutions in consolidated multidistrict
litigation related to the massive data breach that occurred in late 2013. Gary Lynch is on the five-
member Plaintiffs’ Executive Committee that is managing this litigation on behalf of all Plaintiffs.
A settlement agreement which provides $10 million to affected individual customers was granted
final approval in November 2015. A separate settlement providing approximately $39 million in
relief to plaintiff financial institutions was given final approval in May 2016.

First Choice Federal Credit Union v. The Wendy’s Company et al, 2:16-cv-0506, (W.D. Pa.).
Gary Lynch was appointed co-lead counsel in a group of consolidated cases brought by financial
institutions against the Wendy’s fast food chain in the aftermath of a late 2015 data breach that
exposed customers’ credit card information. Magistrate Judge Maureen P. Kelly recommended the
denial of Wendy’s motion to dismiss in February 2017, and that report and recommendation was
adopted by District Judge Nora Barry Fischer in March 2017. The case ultimately settled for $50
million, which received final approval in 2019.

Dittman et al v. UPMC d/b/a The University of Pittsburgh Medical Center and UPMC
McKeesport, (Allegheny Cty., Pa. No. GD-14-003285). Carlson Lynch is representing several
employees of the health care group UPMC in a class action stemming from a breach of UPMC’s
personnel files. Hundreds of employee files were compromised, and numerous fraudulent tax
returns were filed using the stolen data. On November 21, 2018 the Pennsylvania Supreme Court
vacated and remanded a dismissal of this case, finding that employers have a duty to exercise
reasonable care to safeguard employees’ sensitive data and the claims from negligence can be
brought by employees when an employer’s internet-accessible computer systems are breached. In
addition, the Court held that Pennsylvania’s economic loss doctrine does not prohibit a negligence
claims where the plaintiff can establish breach of a duty arising under common law.

In re Anthem, Inc. Customer Data Security Breach Litig., No. 5:15-md-02617, MDL 2617 (N.D.
Cal.). Carlson Lynch represented customers of a national health insurer which experienced a data
breach involving the personal information, including social security numbers, of up to an estimated
80 million customers. The case was consolidated and transferred to the Northern District of
California in June 2015. Carlson Lynch participated in discovery related to Highmark, the
Pennsylvania-based member of the Blue Cross Blue Shield Association and a co-defendant in the
MDL. The parties reached a settlement valued at $117 million, which was approved by the Court.

In re Community Health Systems, Inc., Customer Data Security Breach Litigation, 2:15-cv-
00222, MDL 2595 (N.D. Ala.). Gary Lynch served as a member of the plaintiffs’ steering
committee in consolidated multidistrict litigation stemming from a 2014 data breach involving one
of the nation’s largest hospital chains. The breach affected over 200 hospitals and the sensitive
personal information of approximately 4.5 million patients was compromised.
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Greater Chautauqua Federal Credit Union et al v. Kmart Corporation et al, No. 15-cv-02228
(N.D. Ill.). Gary Lynch served as a member of the plaintiffs’ executive committee, and Katrina
Carroll served as liaison counsel, in this consolidated case in which financial institutions were
seeking recovery for losses sustained as a result of a 2014 data breach at one of the nation’s largest
discount retail chains. A settlement was reached and approved in June 2017.

In re SuperValu, Inc. Customer Data Security Breach Litig., 0-14-md-02586, MDL 2586 (D.
Minn.). In April 2015, Ed Kilpela of Carlson Lynch was appointed as interim co-lead counsel in
this consolidated case. The litigation stems from a 2014 data breach that compromised the sensitive
personal and financial information of customers of approximately 1,000 grocery stores operating
under a variety of brand names in over a dozen states.

In re Ashley Madison Customer Data Security Breach Litig., MDL No. 2669 (E.D. Mo.). In this
well-publicized data breach case, Katrina Carroll, prior to joining Carlson Lynch, represented
individuals whose highly sensitive account information was leaked from a social media company.
The case was consolidated and transferred to the Eastern District of Missouri in December 2015.
A class settlement for $11.2 million was given final approval in November 2017.

In re Vizio, Inc. Consumer Privacy Litig., MDL No. 2693 (C.D. Cal.). Carlson Lynch represented
individuals who purchased Vizio “Smart TVs,” which contained software that collected
information about the users in a manner that allegedly violates numerous consumer protection
statutes. The case was consolidated and transferred to the Central District of California in April
2016, and Gary Lynch was appointed to the Plaintiffs’ Steering Committee. In March 2017,
District Judge Staton granted in part and denied in part a motion to dismiss, leaving the most
significant claims intact and granting plaintiffs leave to re-plead the dismissed counts. After
plaintiffs filed a second consolidated amended complaint, a second motion to dismiss was denied
in July 2017. Vizio’s attempt to certify an interlocutory appeal was denied in October 2017. The
case was settled as a class action and received final approval in 2019.

Storm et al. v. Paytime, Inc., No. 1:14-cv-011380-JEJ (M.D. Pa.). Carlson Lynch represented
individuals whose sensitive personal and financial information was stolen from the systems of a
Pennsylvania payroll processing company. The case was appealed to the Third Circuit and settled
on a class basis while the appeal was pending.

Sullivan v. Wenner Media LLC, No. 1:16-cv-960 (M.D. Mich.). Carlson Lynch was co-lead
counsel for plaintiffs who brought claims against the publisher of Rolling Stone magazine.
Plaintiffs allege that Rolling Stone sold subscriber information to marketing partners without the
subscriber’s consent, in violation of Michigan state privacy laws. The parties reached a proposed
settlement including a $1.1 million settlement fund and alternative forms of relief. The settlement
was approved in May 2018.

Lewert v. PF Chang’s China Bistro, Inc., No. 1:14-cv-04787 (N.D. Ill.): Katrina Carroll served
as Court-appointed Co-Lead counsel representing P.F. Chang’s customers who had their personal

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financial information compromised in a 2014 security breach. This matter was one of the first data
breach cases on record. Ms. Carroll oversaw all of the appellate briefing in ultimately obtaining a
landmark ruling in the Seventh Circuit on Article III standing, hailed by Law360 as one of the “top
privacy cases” of 2016.
Salam v. Lifewatch, Inc., No. 1:13-cv-09305 (N.D. Ill.): In this hard-fought litigation, Carlson
Lynch partner Katrina Carroll is currently involved as court-appointed Co-Lead Counsel on behalf
of a certified class in this privacy matter brought under the Telephone Consumer Protection Act
(“TCPA”). Ms. Carroll has been directly involved in all aspects of litigation, including discovery
and motion practice which culminated in a total victory for plaintiffs in contested class
certification.

Bakov v. Consolidated World Travel Inc., No. 1:15-cv-02980 (N.D. Ill.): Katrina Carroll serves
as court-appointed Co-Lead Counsel in this TCPA litigation on behalf of a certified class of
consumers.

Additional Data Breach/Privacy Cases. In addition to the foregoing, Carlson Lynch represents
plaintiffs in several other similar pending or settled data breach and privacy-related actions,
including:

   x   Friske v. Bonnier Corp., 2:16-cv-12799 (E.D. Mich.)
   x   In re Arby’s Restaurant Group, 1:17-mi-55555 (N.D. Ga.)
   x   Veridian Credit Union v. Eddie Bauer LLC, 2:17-cv-356 (W.D. Wash.)
   x   In re Premera Blue Cross Customer Data Security Breach Litig., No. 3:15-md-2633-SI,
       MDL 2633 (D. Or.)
   x   Miracle-Pond, et al. v. Shutterfly, Inc., 2019-CH-07050 (1st Dist. Cook County, Ill.)
   x   Holm v. Presence Health Network, 2017-L-012793 (1st Dist. Cook County, Ill.)
   x   Viverette, et al. v. Infusion Management Group, Inc. D/B/A the Signature Room at the 95th,
       2019-CH-05660 (1st Dist. Cook County, Ill.)
   x   Albrecht v Oasis Power, LLC, No. 1:18-cv-01061 (N.D. Ill.)


                        CONSUMER PROTECTION/PRODUCTS LIABILITY

Morrow v. Ann Inc., 16-cv-3340 (S.D.N.Y.). Carlson Lynch was co-class counsel in a case
alleging deceptive pricing practices by a major national retail chain. After plaintiffs overcame a
motions to dismiss, the case settled for $6.1 million worth of class benefits. The settlement was
approved in April 2018.

Luca v. Wyndham Hotel Group, LLC, 2:16-cv-746 (W.D. Pa.). Carlson Lynch was co-lead
counsel in a class action against the Wyndham hotel companies for violations of New Jersey
consumer protection statutes. Plaintiffs alleged that Wyndham’s websites deceptively masked the
resort fees charged at certain hotels and forced patrons to agree to illegal terms and conditions. In
2017, plaintiffs defeated a motion to dismiss filed by two of the primary operating subsidiaries. A

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class settlement worth up to $7.6 million was reached in 2019 and approved later that year.

In re Volkswagen “Clean Diesel” Marketing, Sales Practices, and Products Liability Litig.,
MDL No. 2672 (N.D. Cal.). Carlson Lynch represents preowned auto dealers who suffered
damages as a result of Volkswagen’s false advertising and defective design with respect to vehicles
marketed as “clean diesel.” The case was consolidated before the Hon. Charles R. Breyer in
December 2015.

In re McCormick & Company, Inc., Pepper Products Marketing and Sales Practices Litig.,
MDL No. 2665 (D.D.C.). Carlson Lynch represents consumers who allege that they were misled
by McCormick & Company’s practice of “slack-filling” its opaque ground pepper containers. The
case was consolidated before the Hon. Ellen Segal Huvelle in December 2015.

Robert Brown, et al. v. Electrolux Home Products, Inc., d/b/a Frigidaire, No. 15-11455 (11th
Cir.). In July 2015, Carlson Lynch attorneys co-authored a brief on behalf of Public Justice, P.C.;
the National Association of Consumer Advocates; U.S. PIRG (United States Public Interest
Research Group); Consumer Action; and the Consumer Federation of California, appearing as
amici curiae to the Eleventh Circuit and arguing in support of affirmance of a district court’s
certification of a class of purchasers of defective washing machines.

Kobylanski v. Motorola Mobility, Inc., et al., No. 2:13-cv-1181 (W.D. Pa.). Carlson Lynch
represented purchasers of MOTOACTV wearable fitness devices who alleged that the devices,
although marketed as “sweat-proof” and “rain-resistant,” were in fact susceptible to damage from
even slight amounts of moisture. A settlement was reached which provided for full refunds for
class members who had previously submitted a claim for water damage to Motorola but were
denied a repair or replacement, and additional forms of relief for class members who had not
previously complained of water damage. The settlement was approved in October 2014.

Quinn et al. v. Walgreen Co., Wal-Mart Stores, Inc., Supervalu, Inc., and Perrigo Company of
South Carolina, Inc., No. 7:12-cv-8187 (S.D.N.Y.). Carlson Lynch served as co-lead counsel on
behalf of purchasers of glucosamine/chondroitin products manufactured by Perrigo and sold by
various retailers. A settlement was reached in 2014 which provided for a total settlement fund of
$2.8 million and provided for full or partial refunds to class members who submitted valid claims.
Final approval was granted in March 2015.

In re Nutramax Cosamin Marketing and Sales Practices Litigation – MDL No. 2498, (D. Md.).
Carlson Lynch represented several plaintiffs in nationwide litigation regarding Nutramax’s false
and misleading marketing of glucosamine/chondroitin supplements, which multiple studies have
determined to be without efficacy for the conditions they purport to treat. After the cases were
consolidated for pre-trial proceedings, Carlson Lynch partner Ed Kilpela was appointed to the
Executive Committee overseeing the litigation.




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In re Wireless Phone Equipment Replacement Insurance Litigation, (C.P. Allegheny County,
Pennsylvania). Carlson Lynch was lead counsel in this national litigation alleging consumer fraud
in connection with wireless phone equipment replacement insurance. In November 2004, the Court
approved a class settlement and entered Findings of Fact and Conclusions of Law which
commented on the adequacy of Carlson Lynch as lead counsel as follows:

       “Class counsel have abundant experience as lead counsel in consumer class action
       litigation. Indeed, class counsel have frequently appeared before this Court. Other
       courts have routinely recognized class counsels’ adequacy . . . . This Court readily
       agrees with these other courts, and finds that Bruce Carlson and Gary Lynch are
       more than adequate counsel, and indeed are capable and diligent class action
       attorneys.”

Mednick v. Precor, Inc., No. 14-cv-03624 (N.D. Ill.): Katrina Carroll served as court-appointed
Co-Lead Counsel in this products liability matter concerning the heart rate monitoring feature on
Precor fitness machines. Due to Ms. Carroll’s efforts, the plaintiffs defeated a contested class
certification motion and obtained class certification for a multi-state consumer class. Ms. Carroll
was instrumental in negotiating a class settlement providing meaningful relief for class members
shortly thereafter, for which the Court recently issued final approval.

Bishop et al. v. Behr Process Corp. et al., No. 1:17-cv-4464 (N.D. Ill.): Carlson Lynch partner
Katrina Carroll currently serves as court-appointed Co-Lead Counsel in this national products
liability class action matter relating to defective deck paint. Together with her co-counsel, Ms.
Carroll obtained a substantial settlement for the class, which has been finally approved by the
Court and is currently being administered.
In re Rust-Oleum Restore Marketing, Sales Practices and Prods. Liab. Litig. No. 1:15-cv-1364
(N.D. Ill.): In this sprawling products liability MDL relating to defective deck resurfacing
products, Katrina Carroll was instrumental in negotiating a $9.3 million settlement providing
meaningful relief to consumers, which received final approval in March of 2017 by the Honorable
Amy J. St. Eve of the United States District Court for the Northern District of Illinois, now a sitting
Judge of the Court of Appeals for the Seventh Circuit. Over the course of the litigation, among
other things, the court resolved an extremely challenging motion to dismiss substantially in
plaintiffs’ favor, issuing a sixty-page opinion, oft-cited in warranty and consumer fraud class
actions across the country. Ms. Carroll oversaw the plaintiffs’ briefing on that motion.




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                            FINANCIAL FRAUD / LENDING PRACTICES

In re: FedLoan Student Loan Servicing Litigation – MDL No. 2833, (E.D. Pa.). Carlson Lynch
serves as court-appointed co-lead counsel on behalf of student loan borrowers and federal grant
recipients in this multidistrict litigation. The claims relate to widespread and systemic failures on
the part of a student loan servicer and the U.S. Department of Education to adequately service the
programs and advise its participant. A consolidated complaint was filed in November 2019.

Rescap Bankruptcy, (S.D.N.Y. Bkr.). On November 27, 2013, the Bankruptcy Court in the
Southern District of New York granted final approval of a class settlement on behalf of in excess
of 45,000 residential mortgage borrowers. Carlson Lynch is co-lead counsel for the class. The
settlement is for an allowed claim amount of $300 million dollars. There is a guaranteed payout of
approximately $36 million dollars. The debtor assigned its insurance rights to the class and
insurance will potentially cover the difference between the $36 million dollar guaranteed payout
and the allowed claim amount of $300 million. Upon signing the Order granting final confirmation
of the bankruptcy plan, the judge stated that this was the most factually and legally complex matter
that he had presided over since taking the bench.

CitiMortgage SCRA Litigation, (S.D.N.Y.). Carlson Lynch was tri-lead counsel in this class
action against CitiMortgage on behalf of Sergeant Jorge Rodriguez in the Southern District of New
York. This case alleges that CitiMortgage improperly foreclosed upon Mr. Rodriguez’s home (and
the homes of similarly situated individuals) while he was serving his country in Iraq, in violation
of the Servicemembers Civil Relief Act. The case settled on a class basis, securing a total recovery
of $38.2 million. Court granted final approval of the settlement in October 2015.

Pitts v. NovaStar Home Loans, Inc. et al., (S.D. Ga.). Carlson Lynch was co-lead counsel for
plaintiffs in this national RESPA class action. The Southern District of Georgia was the MDL
court for this litigation. After the Court denied defendant’s motion to dismiss, after the Court
denied defendants’ motion for summary judgment and granted plaintiffs’ motion for class
certification in a related Maryland state court action – where Carlson Lynch was also co-lead
counsel -- and after extensive discovery including the video depositions of several of defendants’
top executives, the parties participated in multiple mediation sessions and ultimately arrived at a
national cash settlement on behalf of class members for $17.3 million.

In re Community Bank of Northern Virginia and Guaranty National Bank of Tallahassee
Secondary Mortgage Loan Litigation, (W.D. Pa./3d Cir.). Carlson Lynch was co-lead class
counsel in this national litigation on behalf of second mortgage borrowers under the Real Estate
Settlement Procedures Act. The class was certified by the district court and affirmed by the Third
Circuit, 795 F.3d 380 (2015). A class settlement was finalized in early 2017 and obtained a total
recovery of $24 million.

Kahrer v. Ameriquest Mortgage Co., (W.D. Pa./MDL N.D. Ill.). Carlson Lynch was counsel for
plaintiff in connection with this consolidated group of class actions alleging the existence of a
kick-back scheme in violation of RESPA, along with numerous other unfair lending practices. The
specific case being handled by Carlson Lynch created new law under RESPA. Specifically,
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Carlson Lynch filed this action as a test case to challenge what they viewed as a negative trend in
the law regarding how federal trial courts were determining whether a consumer has standing to
sue under RESPA, as well as the manner in which damages are calculated under RESPA. Every
prior federal trial court to consider these issues had sided with defendants. In opposing the
Ameriquest motion to dismiss that was filed in this case, Carlson Lynch argued that these other
federal trial courts had fundamentally misinterpreted the legislative history of RESPA in their
decisions to dismiss the prior cases. In a seminal decision, the United States District Court for the
Western District of Pennsylvania departed from the holdings issued by these other federal courts
and agreed with the arguments of Carlson Lynch, denying the motion to dismiss. See Kahrer v.
Ameriquest Mortgage Co., 418 F.Supp.2d 748 (W.D. Pa. 2006) (Hay, J.). Multiple federal courts
of appeal have adopted the Kahrer reasoning, including at least the Sixth and Third Circuits. This
case was ultimately settled as part of MDL proceedings against Ameriquest in the Northern District
of Illinois, and final approval of the settlement was granted.

Bannon v. First One Lending, Inc., (C.P., Allegheny County, Pennsylvania). Carlson Lynch was
co-lead counsel in this class action filed on behalf of Pennsylvania second mortgage loan
borrowers alleging that they were charged excessive settlement fees in violation of the
Pennsylvania Secondary Mortgage Loan Act. After the court denied defendant’s motion to
dismiss, the case ultimately settled and plaintiffs and the class were refunded 100% of the alleged
overcharges.

EFTA Litigation. Beginning in late 2010, Carlson Lynch filed putative class actions on behalf of
consumers in more than fifteen federal courts under the Electronic Fund Transfer Act. These cases
alleged that various automated-teller machine (“ATM”) operators (primarily financial institutions)
violated mandatory ATM fee disclosure requirements, and therefore were not permitted to impose
transaction fees on ATM users at their machines. Motions to dismiss were granted in two cases
based upon EFTA’s statutory safe harbor provision, and Carlson Lynch appealed the dismissals to
the Third Circuit. The Third Circuit agreed with Carlson Lynch and reversed the orders granting
the motions to dismiss, and both of those cases were remanded for further proceedings, eventually
settling on a class basis. Class settlements were negotiated in at least twenty-five additional cases,
with others settling on an individual basis.

                                  WAGE AND HOUR LITIGATION

Verma v. 3001 Castor Inc., (E.D. Pa.). As co-class counsel, Carlson Lynch won a $4.5 million
jury verdict in 2018 for misclassified workers at a Philadelphia nightclub. The claims were brought
under the FLSA and Pennsylvania Minimum Wage Act. The trial verdict was fully affirmed by
the Third Circuit in August 2019.

Gardner v. Country Club, Inc. (D.S.C.). Carlson Lynch served as class counsel for a class of
nightclub workers who were misclassified as independent contractors, subjected to deductions
from their tip income, and denied wages. Carlson Lynch won two significant dispositive motions,
obtaining a ruling that the workers were legally employees, and a legal opinion determining as a
matter of first impression under South Carolina wage laws that tip income was protected from
employer deductions. The case then settled for a total of $1.5 million, and final approval was
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granted in 2019.

Herron v. Investment Professionals Inc. (W.D. Pa.). Carlson Lynch secured a $450,000
settlement for 12 financial advisors who were misclassified by a financial services company and
consequently did not receive overtime compensation. The settlement was approved in February
2018.

Herzfeld v. 1416 Chancellor Inc. (E.D. Pa.). Carlson Lynch is class counsel for a litigation-
certified Rule 23 class and FLSA collective of more than 100 nightclub entertainers alleging
misclassification and violations of the FLSA and Pennsylvania wage and hour laws. A settlement
for a total amount of $415,000 was reached and granted preliminary approval in January 2018.
Final approval was granted following a fairness hearing in June 2018.

Correll v. One Three Five, Inc. (W.D. Pa.). Carlson Lynch was class counsel for a class of several
hundred nightclub performers who alleged that they were misclassified by the club’s owner as
independent contractors, resulting in violations of the Fair Labor Standards Act and Pennsylvania
state wage laws. A class settlement was granted final approval in 2016 and provided $815,000 in
total relief for the class.

Genesis Healthcare v. Symczyk (U.S. Supreme Court). Gary Lynch served as Counsel of Record
before the United States Supreme Court in an appeal addressing the application of mootness
principles in a putative collective action filed under Section 216(b) of the Fair Labor Standards
Act. When defendant served Carlson Lynch’ client with a Rule 68 offer of judgment for “make
whole” relief, the district court dismissed the case as moot. Gary Lynch successfully argued the
appeal in the United States Court of Appeals for the Third Circuit, which held that the FLSA
collective action did not become moot upon the plaintiff’s receipt of a Rule 68 offer of judgment
for full satisfaction of her individual claim. The Supreme Court reversed in a 5-4 opinion, with
Justice Kagan writing a strong dissent on behalf of Carlson Lynch’ client—a position which was
subsequently adopted by the majority of the Court in Campbell-Ewald Co. v. Gomez, ___, U.S.
___, 136 S.Ct. 663 (2016). Carlson Lynch’s position before the Supreme Court was supported by
the United States as Amicus Curiae.

Gualano v. Abercrombie & Fitch Stores, Inc., (W.D. Pa). Carlson Lynch was co-lead counsel in
this wage and hour litigation alleging that defendant retail clothier was violating federal and state
minimum wage laws. Following the fairness hearing in early 2005, where a multi-state settlement
was presented to the Court for approval, the Court entered Findings of Fact and Conclusions of
Law addressing lead counsels’ adequacy as follows:

       “The Court finds the plaintiffs’ counsel, Bruce Carlson and Gary Lynch, are
       experienced class counsel and that they have met all of the requirements of Rule
       23(g)(1)(B) and (C). Consistent with the underlying purpose of Fed. R. Civ. P. 23,
       plaintiffs’ counsel have achieved, with utmost efficiency, a quality result for the
       entire class and are commended for the diligence and effective advocacy they have
       displayed on behalf of their clients.”

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Pasci v. Express, LLC, (W.D. Pa.). This case was similar to the Abercrombie case discussed above
and proceeded to a fairness hearing in November 2004, where a multi-state settlement was
presented to the Court for approval. Regarding the adequacy of Carlson Lynch, the Court issued
Findings and Conclusions stating:

       “With respect to the adequacy of counsel, the Court finds that class counsel have
       capably and vigorously represented the class. Bruce Carlson and Gary Lynch have
       substantial experience in class-based litigation involving consumer fraud and
       employment claims . . . . Class counsel achieved an efficient and excellent result on
       behalf of the class.”

Ellis v. Edward Jones, (N.D. Ohio). Carlson Lynch chaired the Plaintiffs’ Leadership Committee
in this wage and hour class action alleging that defendant stock brokerage company violated
federal and state overtime laws. After Defendant filed an answer and after significant discovery
wherein Defendant produced in excess of 500,000 pages of documents and hundreds of videotapes,
the parties commenced mediation to pursue a potential global settlement. The first mediation,
which occurred in Atlanta in March 2007, was unsuccessful. Ultimately, the parties participated
in a second mediation in San Francisco, at which the parties arrived at the basic terms of a proposed
settlement pursuant to which class members from multiple states received in excess of
$19,000,000. After a fairness hearing on January 5, 2009, the Court granted final approval of the
settlement.

Byers v. PNC Financial Services Group, Inc., (W.D. Pa.). Carlson Lynch was lead plaintiff’s
counsel in this wage and hour class action alleging that defendant stock brokerage company
violated federal and state overtime laws. A multi-state settlement was approved following a
fairness hearing in June 2008.

Steen v. A.G. Edwards, Inc., (S.D. Cal.). Carlson Lynch was co-class counsel for plaintiff in this
wage and hour litigation alleging that defendant stock brokerage company violated federal and
state overtime laws. A mediated national class-based settlement has been reached and preliminary
approval has been granted. A fairness hearing was held on August 31, 2009 in Los Angeles, after
which the Court entered an Order granting final approval of the settlement.

Meola v. AXA Financial, Inc., (N.D. Cal.). Carlson Lynch was co-class counsel for plaintiff in
this wage and hour litigation alleging that defendant financial services company violated federal
and state overtime laws. A mediated national class-based settlement was negotiated in this matter,
and final approval was granted following a fairness hearing in the fall of 2009.

In re St. Francis Health System, (C.P., Allegheny County Pennsylvania). Carlson Lynch was
counsel for the class in connection with this wage and hour litigation on behalf of certain former
employees of the St. Francis Health System in Pittsburgh. Plaintiff asserted that the class was
deprived of severance benefits when St. Francis Health System was acquired by another hospital
group in Western Pennsylvania. Prior to the disposition of Plaintiff’s class certification motion,
the parties engaged in extensive mediation before reaching a class-based settlement.

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Haag v. Janney Montgomery Scott, (E.D. Pa.). Carlson Lynch was a member of the three firm
Executive Committee in this wage and hour class action alleging that defendant stock brokerage
company violated federal and state overtime laws. After protracted litigation and two separate
mediations, the parties reached a multi-state settlement. A fairness hearing was conducted in
Philadelphia on June 30, 2009, where Gary Lynch appeared on behalf of the class. Following the
hearing, the Court granted final approval of the settlement.

Steinberg v. Morgan Stanley & Co., (S.D. Cal.). Carlson Lynch was co-class counsel for plaintiff
in this wage and hour litigation alleging that defendant stock brokerage company violated federal
and state overtime laws. A mediated national class-based settlement was reached, and final
approval of the settlement was granted.

Ramsey v. Ryan Beck, Inc. (S.D.N.Y.). Carlson Lynch was co-class counsel in this wage and hour
class action alleging that defendant stock brokerage company violated federal and state overtime
laws. After protracted litigation, the parties reached a multi-state settlement, and final approval
was granted in June 2010.

Kniess v. Heritage Valley Health Systems, Inc., (C.P., Allegheny County, Pennsylvania). Carlson
Lynch was lead counsel in this wage and hour class action alleging that the defendant hospital
system failed to pay overtime compensation to its nurse practitioners and physician’s assistants.
The parties reached a mediated class settlement whereby class members received the majority of
the back pay alleged by Carlson Lynch.

Leadbitter v. The Washington Hospital, Inc., (W.D. Pa.). Carlson Lynch was lead counsel in this
wage and hour class action alleging the defendant hospital system failed to pay overtime
compensation to its nurse practitioners and physician’s assistants. The parties reached a mediated
class settlement whereby class members will be eligible to receive the majority of the back pay
alleged by Carlson Lynch, and the settlement has received final approval from the Court.

Career Education Corporation Misclassification Litigation, (W.D. Pa.). In early 2011, Carlson
Lynch filed a putative collective action on behalf of admissions representatives employed by
culinary schools operated by Career Education Corporation. Carlson Lynch alleged that these
individuals were misclassified and improperly denied overtime benefits. A class settlement was
negotiated and final approval of the settlement was granted in December 2011.

Atrium Centers, LLC Automatic Meal Break Deduction Litigation, (N.D. Ohio). Carlson Lynch
was lead counsel in this collective action on behalf of hourly health care workers (primarily nurses)
alleging improper pay practices in connection with automatic meal break deductions. After the
court granted Plaintiffs’ motion for conditional certification of a collective action under the FLSA,
extensive discovery ensued. Following the close of discovery in the fall of 2012, the Parties
engaged in mediation with a former United States Magistrate Judge and reached an agreement to
settle the case on a collective basis. The settlement was approved by the court in December 2012,
and the settlement proceeds have been distributed.


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Northwestern Memorial Healthcare Automatic Meal Break Deduction Litigation, (N.D. Ill.),
Carlson Lynch was lead counsel in this collective/class action on behalf of hourly health care
workers (primarily nurses) alleging improper pay practices in connection with automatic meal
break deductions. After extensive discovery and the denial of Defendant’s motion for summary
judgment, the Parties reached a mediated class settlement in the fall of 2012. In December 2013,
the Court granted final approval of the settlement, and the settlement proceeds have been
distributed to the class.

Crozer-Keystone Health System Overtime Litigation, (E.D. Pa.), Carlson Lynch filed a putative
collective action against Crozer-Keystone Health System in the Eastern District of Pennsylvania.
The Complaint challenged pay practices related to nurse practitioners and/or physicians’ assistants.
The plaintiffs in these cases allege that they were illegally being denied overtime compensation by
their employers. After discovery, the Parties filed cross motions for summary judgment. In a
widely reported opinion issued on January 4, 2011, the Court granted Plaintiffs’ motion for
summary judgment, holding that Defendant had misclassified individuals in Plaintiff’s job
positions. Defendant’s motion for reconsideration of the federal court’s summary judgment
decision was denied in a twenty-one page opinion and order issued on August 15, 2011. Following
mediation, the settlement of this case was approved in August 2012.

                                 EMPLOYMENT DISCRIMINATION

White v. United Steel Workers of America, (W.D. Pa.), Carlson Lynch was co-lead counsel in this
age-discrimination class action against the U.S.W.A. After overcoming a motion to dismiss on a
legal issue regarding a substantial split of authority, the defendant requested mediation to explore
the possibility of settlement. After extensive mediation over a one month period in June 2004, the
case ultimately settled for an amount that defense counsel characterized as the highest ever paid
by the U.S.W.A. in connection with civil litigation.

                                            ANTITRUST

In Re Railway Industry Employee No-Poach Antitrust Litigation, MDL 2850, (W.D. Pa.),
Carlson Lynch represents a putative class of employees who allege defendants and their co-
conspirators entered into unlawful agreements to reduce and eliminate competition among them
for employees and to suppress the compensation of those employees. Chief Judge Joy Flowers
Conti appointed Carlson Lynch partner Kelly K. Iverson as Liaison Counsel on behalf of the
putative class.

In Re Blue Cross Blue Shield Antitrust Litigation, MDL No. 2406, (N.D. Ala.). Carlson Lynch
represents healthcare subscriber plaintiffs in four states in this nationwide class action challenging
the anti-competitive practices of Blue Cross/Blue Shield’s nationwide network of local insurers
who do not compete with each other based on geographic boundaries. In addition to Carlson
Lynch’s work on the individual cases, Carlson Lynch attorneys have been significantly involved
in the discovery process.


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                                        ENVIRONMENTAL

Steward et al. v. Honeywell Int’l, Inc., No. 3:18-cv-01124 (S.D. Ill.) Carlson Lynch is currently
involved in this property damage class action involving nuclear and non-nuclear contamination of
large swaths of the City of Metropolis and the County of Massac. Carlson Lynch and co-lead
counsel are prosecuting claims for injunctive relief, property damage, and medical monitoring in
this extremely complicated environmental contamination case.

                                          CIVIL RIGHTS

ADA (Americans with Disabilities Act) Accessibility Litigation. Carlson Lynch is currently
counsel for plaintiffs in a substantial number of putative class actions filed on behalf of disabled
individuals to enforce the ADA’s accessibility requirements. Over the last six years, Carlson Lynch
has represented the visually disabled in seeking improved access to ATMs, Point of Sale devices,
automated retail kiosks, and websites. Carlson Lynch has also represented individuals with limited
mobility in seeking elimination of architectural barriers found in parking lots, paths of entry,
interior store design, and other places of public accommodation. These cases have been prosecuted
in numerous federal courts across the country. Carlson Lynch has overcome motions to dismiss in
more than twenty-five of these cases. A substantial number of the cases have been settled, and in
all of those cases, the defendants have agreed to equitable relief calculated to guarantee the
accessibility to public accommodations that is required by the ADA.

Moreover, in January 2016, Magistrate Judge Robert C. Mitchell of the United States District
Court for the Western District of Pennsylvania recommended certification of a national class of
mobility-disabled individuals who were denied full and equal access to Cracker Barrel stores due
to the company’s inadequate centralized ADA maintenance policies. Judge Mitchell recommended
that Carlson Lynch be appointed as counsel for the Class. Cracker Barrel has over 630 stores across
the country. The report and recommendation was adopted by District Judge Mark Hornak in July
2016. The case subsequently settled, securing injunctive relief for the nationwide class.

More recently, Carlson Lynch was representing an individual with a mobility disability in Egan v.
Live Nation Worldwide, Inc., 2:17-cv-445 (W.D. Pa.). The claims involve wheelchair
inaccessibility and ticket unavailability at Pittsburgh-area concert events promoted by Live Nation
and ticketed by Ticketmaster. In March 2018, Judge Mark Hornak denied Live Nation’s attempt
to force arbitration of the potential class action. On appeal, the Third Circuit remanded the
arbitration question for trial on disputed factual issues. The case settled before trial.




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                                          ATTORNEYS

R. Bruce Carlson

        Bruce Carlson is from Wilkinsburg, Pennsylvania, where he attended Pittsburgh Public
School. He graduated from the University of Pittsburgh School of Law in 1989, where he was the
Executive Editor of the Journal of Law and Commerce. He also obtained his undergraduate degree
from the University of Pittsburgh, graduating summa cum laude in political philosophy. After law
school, he was employed for approximately four years at Eckert Seamans Cherin & Mellott, in
Pittsburgh. Subsequently, he was a member at the Pittsburgh plaintiffs-FELA and mass tort firm
previously known as Peirce, Raimond, Osterhout, Wade, Carlson & Coulter. During his five year
tenure at the Peirce firm, Bruce developed and managed one of the largest, if not the largest,
pediatric lead poisoning practices in the country. After his practice evolved and began to focus
more on consumer class action litigation, he affiliated the practice with a prominent Pittsburgh-
based plaintiffs’ class action firm. During the almost four years that he was affiliated with that
firm, Bruce originated and was lead counsel in more consumer class cases than any lawyer in
Western Pennsylvania. These cases were filed not only in Western Pennsylvania, but in state and
federal courts throughout the country. In June 2004, Bruce ended his relationship with his former
firm and co-founded Carlson Lynch.

        Bruce is admitted to practice in the state courts of Pennsylvania and West Virginia, the
United States District Courts for the Western, Middle and Eastern Districts of Pennsylvania, the
Northern and Southern Districts of West Virginia, the Northern District of Ohio, the Northern,
Southern, Eastern and Western Districts of Texas, the District of Maryland, the Western District
of Tennessee and the United States Courts of Appeal for the Third, Fifth, Ninth and Eleventh
Circuits. He is a member of the Million Dollar Advocates Forum. He is a member of the American
Association of Justice, and the Pennsylvania, Western Pennsylvania and West Virginia Trial
Lawyers Associations.

Gary F. Lynch

        Gary Lynch was born and grew up in Western Pennsylvania. Gary earned his Juris Doctor
in 1989 from the University of Pittsburgh School of Law, where he served as an Editor of the
University of Pittsburgh Law Review, and his Bachelor of Science in Accounting from the
Pennsylvania State University in 1986. He was admitted to the State Bar of the Commonwealth
of Pennsylvania in 1989 and the State Bar of New York in 2018, and is admitted to practice in the
United States Supreme Court, the United States Courts of Appeals for the First, Third, Fifth, Sixth,
Seventh, Ninth, and Eleventh Circuits, and the United States District Courts for the Western,
Middle, and Eastern Districts of Pennsylvania, the Northern and Southern Districts of Ohio, the
Northern and Central Districts of Illinois, the Western District of New York, the Eastern and
Western Districts of Michigan, and the District of Maryland. Gary has also been admitted pro hac
vice in numerous jurisdictions nationwide.

       Gary has been engaged in the practice of law for the last twenty-nine years, beginning his

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legal career at Reed Smith, LLP (formerly Reed Smith Shaw & McClay). After leaving Reed
Smith in 1991, Gary served as the Managing Partner of Lynch & Kunkel and Gary F. Lynch, P.C.,
focusing his practice on the representation of clients in employment-related matters, particularly
complex litigation. Since co-founding Carlson Lynch in June of 2004, Gary has developed a
nationally recognized plaintiffs’ class action practice in the areas of consumer protection litigation
and employee rights.

        Gary has served in a leadership capacity in several MDL/class action proceedings,
including many of the largest data breach cases in recent years. For example, as Co-Lead counsel
representing a class of financial institution plaintiffs in In re Equifax, Inc. Customer Data Security
Breach Litigation (N.D. Ga.); First Choice Federal Credit Union v. The Wendy’s Company (W.D.
Pa.), and In re: The Home Depot, Inc. Customer Data Security Breach Litigation (N.D. Ga.); as a
member of the Plaintiffs’ Steering Committee representing the consumer plaintiffs in In re
Marriott International Customer Data Security Breach Litigation (D. Md.), and as member of the
overall executive committee in In re Target Corporation Customer Data Breach Litig., (D. Minn.).

       His appointments extend beyond data breach cases, however, and in 2018, Hon. C. Darnell
Jones II appointed him Co-Lead counsel representing a class of student loan borrowers in In re:
FedLoan Student Loan Servicing Litigation (E.D. Pa.). In Ellis v. Edward Jones (N.D. Ohio No.
1:08-cv-00540, MDL No. 1779), he chaired the Plaintiffs’ Leadership Committee in a wage and
hour class/collective action, which returned more than $19 million to the class.

        In 2018, Gary successfully argued before the Pennsylvania Supreme Court in Dittman et
al v. UPMC, where the Court issued its landmark decision establishing a general duty of care to
protect against data breaches and clarifying the parameters of the economic loss doctrine in the
data breach context, as well as any other context where an independent legal duty is sought to be
enforced for purely economic damages. Gary also served as Counsel of Record before the United
States Supreme Court in the case of Genesis HealthCare Corp. v. Symczyk.

       Gary currently serves on the Local Rules Advisory Committee for the United States District
Court for the Western District of Pennsylvania. He has been rated as a “Super Lawyer” and has
received Martindale Hubbell’s “AV” rating. Gary is a frequent local and national Continuing
Legal Education lecturer.

       Gary is active in a number of community non-profit organizations, including past President
and current board member of the Human Services Center, Inc. (an outpatient behavioral healthcare
provider), board member of the Highland House, Inc. (a halfway home for women recovering
from addiction), and former board member of the Lawrence County (Pennsylvania) Historical
Society.

Edwin J. Kilpela, Jr.

       Ed Kilpela is a native of Pittsburgh and a graduate of the Pennsylvania State University
and the University of Michigan Law School, where he won the prestigious Campbell Moot Court
Competition while earning awards for both best brief and as the best oral advocate in the
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competition. Ed lives in Mt. Lebanon with his twin sons, Devin and Graham, and his wife, Gina.
Ed has litigated and tried complex class-action and mass tort matters both at Carlson Lynch on
behalf of individuals and consumers and, previously, at both Williams & Connolly LLP and
Wheeler Trigg O'Donnell LLP, two of the finest complex litigation firms in the country.

       Mr. Kilpela’s current practice focuses on consumer-oriented class actions and financial
fraud matters. Currently, Ed represents a class of insurance purchasers in Western Pennsylvania,
Rhode Island, and Hawaii in an antitrust conspiracy class-action alleging illegal collusion between
the members of the nationwide network of Blue Cross/Blue Shield insurers, resulting in increased
insurance premiums and lack of competition in the health insurance market. In addition, Ed serves
as counsel for purchasers of glucosamine/chondroitin health supplements who were defrauded by
multiple companies in their marketing and advertising of those supplements in which unsupported
and medically false claims were made regarding joint health benefits the supplements do not
provide.

        A representative sample of Ed's past litigation experience includes 1) serving as counsel
for a large financial institution and its officers and directors in connection with securities class
action and ERISA lawsuits stemming from alleged accounting manipulation and corresponding
stock losses; 2) serving as national Counsel for large multinational pharmaceutical corporation in
multiple cases across the country defending against allegations that the company failed to
adequately warn consumers and prescribing health providers about potential product risks; and 3)
representing a large multi-national consumer goods manufacturer in multiple products liability
class action matters stemming from claims regarding alleged product defects.

        Ed was selected by his peers in 2011, 2012, and 2013 as a Rising Star in SuperLawyers, a
distinction given to no more than 2.5% of his peers under the age of 40.

Todd Carpenter

       Todd Carpenter is a former shareholder at the Phoenix based, Bonnett, Fairbourn, Friedman
& Balint, P.C. His practice focuses on consumer class action, representing plaintiff classes in major
insurance fraud, unfair business practices, false and deceptive advertising, product liability cases,
and anti-trust violations. Todd has represented plaintiffs in numerous class action proceedings in
California and throughout the country, in both state and federal courts.

        Todd, through his participation in a multidistrict litigation action before U.S. District Court
Judge James Lawrence King in Miami, Florida, represented consumers in separate actions against
Union Bank, N.A. and Bank of the West to recover damages stemming from alleged fraudulent
overdraft fee practices. The cases resulted in favorable settlements, resulting in nearly $50 million
dollars in recovered fees to customers. Todd has filed similar actions against several other banks
and credit unions across the country, alleging that each institution manipulated the processing of
customer debit card purchases to maximize overdraft fees.

        Todd has successfully represented several plaintiff classes in recovering statutory penalties
resulting from violations of California’s Song Beverly Credit Card Act §1747.08. Additionally,
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his efforts as part of a collaborative team of lawyers have resulted in the recovery of millions of
dollars in compensation for California consumers of food and supplement products arising from
misleading advertising claims made by producers and manufacturers about the safety and efficacy
of the products.

        Todd received his B.B.A in 1999 from the University of New Mexico, where he was
awarded the University’s Karen Abraham’s Outstanding Service Award in 1997 and again in 1998
for his development and participation in after-school recreational leagues for underprivileged
youth. He received his law degree from the University of San Diego School of Law in 2002. While
in law school, Todd served as Vice President for the Democratic Student Association and garnered
recognition for representing indigent litigants through the University of San Diego School of
Law’s Legal Clinic. Todd is a member of the California Bar and has also been admitted to practice
in all Federal District Courts in the state of California.

Katrina Carroll

       Katrina Carroll is the founding partner of Carlson Lynch’s Chicago office and serves as
Co-Chair of the Firm’s Executive Management Committee. She graduated from Northwestern
University, with honors in political science in 1997, and in 2000, received her law degree from
Seton Hall University. In 2018, Katrina was selected one of the top 25 class action lawyers in the
State of Illinois by the National Trial Lawyers Association. She has also been named multiple
times as a SuperLawyer, an honor based on extensive peer review.

        Katrina devotes herself exclusively to fighting for workers, consumers and investors. Her
experience includes products liability, privacy, antitrust and securities cases. Over the course of
her career, she has recovered more than $1 billion for her clients. Prior to joining Carlson Lynch
in 2019, Katrina was the managing partner of Lite DePalma Greenberg’s Chicago office. While at
Lite DePalma, Katrina served as Co-Lead counsel in In Re: Rust-Oleum Restore Marketing, Sales
Practices and Products Liability Litigation (MDL; N.D. Ill.), a sprawling products liability MDL
class action. During the final hearing, the Honorable Amy J. St. Eve, now a sitting justice on the
Seventh Circuit, praised Ms. Carroll as a “model I wish all lawyers would follow.” Katrina now
serves as Co-Lead Counsel in Bishop v. Behr Process Corporation (N.D. Ill.), a similar national
class action matter relating to defective deck paint.

       Katrina is recognized nationally as an authority on topics arising in class action litigation.
She has spoken at many local and national conferences, including the American Bar Association’s
18th National Institute on Class Actions (2014), Perrin’s Class Action Litigation Conference
(2015), the American Association for Justice’s Annual Convention (2016), Loyola University
School of Law’s Consumer Law Review Academic Symposium (2017), Practicing Law
Institute’s Consumer Financial Services Institute (2018), the American Bar Association’s Section
of Litigation Annual Conference (2018), the Class Action Mastery Program hosted by HB
Litigation Conferences (2018) and Mass Torts Made Perfect (2018, 2019).

     In April 2018, Katrina was honored to appear as a panelist at “May it Please the Court:
Symposium on Women Lawyers in the Courtroom,” a prestigious event sponsored by the United
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States District Court for the Northern District of Illinois and the Chicago Bar Association.

       Katrina frequently appears as a panelist on class action issues at the Chicago Bar
Association. She currently serves on the Advisory Board of Loyola University School of Law’s
Institute for Consumer Antitrust Studies and mentors law students and young lawyers. She is a
member of the Class Action Trial Lawyers Association, the Chicago Bar Association and a former
member of New Jersey’s John C. Lifland American Inn of Court.

Edward W. Ciolko

     Ed joined Carlson Lynch as a partner in 2018. Ed concentrates his practice in the areas of
ERISA, Antitrust, RESPA and Consumer Protection.

       Prior to joining Carlson Lynch, Ed was a Partner at Kessler Topaz Meltzer & Check, LLP,
where he served as counsel in a variety of nationwide ERISA breach of fiduciary duty class actions,
brought on behalf of retirement plans and their participants alleging, inter alia, imprudent
investment of plan assets which caused significant losses to the retirement savings of tens of
thousands of workers. These cases include: Harris v. First Regional Bancorp, No. 2:10-cv-07164
(C.D. CA); In re Advanta Corp. ERISA Litig., No. 09-CV-04974 (E.D. Pa.); In re YRC Worldwide,
Inc. ERISA Litig., No. 09-CV-2593 (D. Kan.); In re R.H. Donnelley ERISA Litig., No. 09-CV-
07571 (N.D. Ill.); In re: SLM Corp. ERISA Litig., et al., No. 08-CV-4334 (S.D.N.Y.); and In Re
SunTrust Banks, Inc. ERISA Litigation, No. 1:08-cv-03384 (N.D. Ga.).

       Ed’s efforts have also helped achieve a number of large recoveries for affected retirement
plan participants: In re National City ERISA Litig., No. 08-nc-70000 (N.D. Ohio) (settled -- $43
million recovery); In re Sears Roebuck & Co. ERISA Litig., C.A. No. 02-8324 (N.D. Ill.) (settled
— $14.5 million recovery); and In re Honeywell Intern’l ERISA Litig., No. 03-CV-1214 (DRD)
(D.N.J.) (settled — $14 million recovery, as well as significant structural relief regarding the
pension plan’s administration and investment of its assets).

        Ed also concentrates part of his practice to the investigation and prosecution of pharma-
ceutical antitrust actions, medical device litigation, and related anticompetitive and unfair business
practices including In re Wellbutrin SR Antitrust Litigation, 04-CV-5898 (E.D. Pa. Dec. 17, 2004);
In re Remeron End-Payor Antitrust Litigation, Master File No. 02-CV-2007 (D.N.J. Apr. 25,
2002); In re Modafinil Antitrust Litigation, 06-2020 (E.D. Pa. May 12, 2006); In re Medtronic,
Inc. Implantable Defibrillator Litigation, 05-CV-2700 (D. Minn. 2005); and In re Guidant Corp.
Implantable Defibrillator Litigation, 05-CV-2883 (D. Minn. 2005).




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Eddie Jae K. Kim

       Eddie Jae K. Kim is a partner at Carlson Lynch and manages its Los Angeles office. Eddie
grew up in Southern California and received an undergraduate degree in English Literature from
the University of California, at Berkeley, and a law degree from Cornell Law School. He has
devoted his entire career to protecting the rights of individuals and small businesses.

        During law school, Eddie clerked for the Orange County Public Defender and the
Neighborhood Defender Service of Harlem, where he advocated for the civil and criminal rights
of indigent defendants. Upon graduation from law school, he worked and became a partner at the
Southern California law firm McCune Wright Arevalo, LLP, where he played a substantial role in
building a nationally-recognized consumer class action practice.

        His work includes a number of significant and high profile cases, including Gutierrez v.
Wells Fargo, which resulted in the $203 million trial verdict on behalf of one million California
bank customers based on the unlawful assessment of overdraft fees. Gutierrez subsequently
spawned a national multi-district litigation against many of the largest banks in the country that
resulted in several billion dollars’ worth of settlements. Eddie then managed a series of class
actions against banks and credit unions throughout the country based on another unlawful overdraft
fee practice, resulting in over $28 million worth of settlements.

        He also worked on class actions relating to product liability, including developing the first-
filed case Espinosa v. Hyundai, which challenged the auto manufacturer’s advertisement of
inflated fuel efficiency numbers and became the basis for the multidistrict litigation In re Hyundai
and Kia Fuel Economy Litigation and the resultant $200 million settlement. He served as co-trial
counsel in a class action against the boat manufacturer Correct Craft which resulted in a verdict
for the class that included reimbursement of the purchase price and an injunction requiring the
recall of dangerous boat showers that put people at risk of fatal carbon monoxide poisoning.

        In addition to representing individual consumers, Eddie has also represented small
businesses through collective action, including a series of class actions on behalf of small trucking
companies in California against nine of the largest intermodal shipping companies in the world,
including MOL, MSC, Evergreen, Hyundai, and Wan Hai, based on the unlawful assessment of
per diem fees for the lease of cargo containers. The lawsuits resulted in restitution and cessation
of the unlawful practice.

       Eddie has handled successful appeals in both state court and multiple federal circuit courts
that have resulted in significant rulings, including rulings banning heads-I-win-tails-you-lose
indemnification provisions from home purchase contracts and finding unconscionable the
intermodal shipping industry’s industry-wide arbitration provision.

       He served as the co-chair of the Pro Bono Committee of the Korean American Bar
Association of Southern California in 2013, which assists low-income, Korean-speaking clients at


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a Legal Aid Foundation clinic in Los Angeles. When he is not practicing law, Eddie enjoys hiking
in the mountains and composing music.

Kelly K. Iverson

         Kelly Iverson was born and raised in Pittsburgh. She received Juris Doctor, summa cum
laude, from Duquesne University School of Law, where she was honored with the Shalom Moot
Court Award for Outstanding Trial Advocacy and an appointment to the Louis L. Manderino
Honor Society for Meritorious Service to the Trial Advocacy Program. Kelly has extensive
litigation experience in both state and federal courts. In 2016, she served as lead trial counsel in a
medical malpractice action in federal court, receiving a verdict in her client’s favor for the
maximum available statutory damage award. Kelly’s trial practice also includes second chair
experience in both jury trials and commercial arbitration.

        Kelly joined Carlson Lynch as a partner in February 2018. She prosecutes consumer
protection matters with a focus on consumer fraud, data breach and privacy, and civil rights class
actions. Kelly was Court appointed as co-lead counsel in Flynn v. Concord Hospitality Enter. Co.
(W.D. Pa.), and as Plaintiffs’ Liaison Counsel in In Re Railway Industry Employee No-Poach
Antitrust Litigation (W.D. Pa.). Kelly also serves as a committee member for the leadership teams
in the following multidistrict litigation proceedings: In re Equifax, Inc. Customer Data Security
Breach Litigation (N.D.Ga.); In Re: Marriott International, Inc., Customer Data Security Breach
Litigation (D. Md.) and In re Arby’s Restaurant Group, Inc. Data Security Litig. (N.D. Ga.). She
also assisted lead counsel in prosecuting the consolidated action, First Choice Fed. Credit Union
v. The Wendy’s Co. (W.D. Pa.), which recently received final approval of a $50 million class
settlement.

        In 2019, Kelly was selected to SuperLawyers - Rising Stars, a distinction given to no more
than 2.5% of her peers under the age of 40.

        Kelly currently serves on the Board of Millvale Athletic Association, a local fastpitch
softball organization. From 2010 through 2017, she served as a high school mock trial attorney
advisor for Fort Cherry High School and Pittsburgh Science and Technology Academy. Kelly lives
in Lawrenceville with her husband Nathan, their three children, and their dog.

Eric D. Zard

        Eric Zard, a partner at Carlson Lynch, was born and raised in Minnesota where he received
his Bachelor of Science from the University of Minnesota and his Juris Doctor from the University
of Saint Thomas School of Law. While in law school, Eric served as an editor for the University
of Saint Thomas Law Journal, authored a comment that was published in the University of Saint
Thomas Law Journal (Patentability of Human Genetic Information: Exploring Ethical Dilemmas
Within the Patent Office and Biotechnology’s Clash with the Public Good, 6 U. St. Thomas L.J.
486 (2009)), and received a Dean’s Award for Negotiations.


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        After graduating law school, Eric moved to Phoenix, Arizona and began his legal career at
Bonnett, Fairbourn, Friedman & Balint, P.C., where he practiced consumer class action litigation
for over seven years. During his time in Phoenix, Eric also defended architects, engineers, and
other design professionals, businesses, and individuals in civil litigation. Eric has represented
commercial landlords in purchase and sales agreements and unique landlord-tenant disputes. Eric
represents clients that have been discriminated against, sexually abused and harassed in the work
place, clients that have suffered severe physical injuries related to motor vehicle accidents, and
individuals in premise liability matters.

       In 2017, Eric decided to join a friend and former colleague from Bonnett-Fairbourn, Todd
Carpenter, at Carlson Lynch in San Diego, California. Eric continues to represent plaintiffs in a
wide-range of matters but his primary focus is consumer class action litigation. Eric has
represented numerous clients in both state and federal courts throughout the country.

Pam Miller

       Pam is the head of Carlson Lynch’s Injury and Disability Group. She was born and raised
in Western Pennsylvania. As the proud daughter of a railroad worker, Pam grew up with an acute
awareness of the hazards and risks of personal injury which American workers constantly face.
Consequently, after graduating from Westminster College, Pam obtained her law degree from the
University of Pittsburgh School of Law in 1993, with the sole intent to represent injured and
disabled workers.

        For nearly twenty years now, Pam has tirelessly advocated for her clients before the Social
Security Administration, the Pennsylvania Bureau of Workers’ Compensation, and in Federal
Employer Liability Act litigation in federal court. Pam has handled over one thousand claims for
Social Security Disability and continues to develop her practice in this increasingly significant
area of federal administrative law.

Jamisen Etzel

       Jamisen attended Duquesne University where he graduated magna cum laude in 2008 with
a Bachelor of Arts in Political Science. He obtained his law degree from New York University
School of Law in 2011. While at NYU Law, Jamisen was Managing Editor of the Journal of
Legislation and Public Policy. During the summer of 2010, Jamisen served an internship with
United States District Judge William H. Walls of the United States District Court for the District
of New Jersey.

        Jamisen works primarily in the firm’s data breach, privacy, consumer, and employment
class litigation practices, and has been involved in most of the firm’s recent appellate work,
securing three favorable, published opinions from U.S. Courts of Appeals in 2018 and 2019.
Jamisen has been involved in most of the firm’s recent data breach litigation, contributing at every
stage, including initial pleadings, dispositive motions practice, discovery, settlement negotiation,
and appeals.

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        In March 2018, Jamisen was part of a three-person trial team that obtained a jury award of
$4.5 million in unpaid wages and illegally confiscated tips for class of misclassified nightclub
workers in Verma v. 3001 Castor Inc., 2:13-cv-3034-AB (E.D. Pa.). Jamisen then then briefed and
presented oral argument in the defendant’s post-trial appeal to the Third Circuit, and obtained an
across-the-board affirmance of Carlson Lynch’s trial victory. Verma v. 3001 Castor Inc., 937 F.3d
221 (3d Cir. 2019). He served as the primary briefing and arguing counsel for successful appellants
in Mickles v. Country Club, Inc., 887 F.3d 1270 (11th Cir. 2018), and for successful appellees in
DeGidio v. Crazy Horse Saloon and Restaurant, Inc., 880 F.3d 135 (4th Cir. 2018), wherein the
Fourth Circuit held that an employer's mandatory arbitration agreements were unenforceable due
to the employer's abusive tactics in disseminating the agreements and the employer’s delay in
moving to enforce the agreements in the district court proceedings.

        Jamisen was also one of the primary brief writers in the Dittman v. UPMC appeals, leading
to a groundbreaking opinion from the Supreme Court of Pennsylvania—in favor of Carlson
Lynch’s clients—which clarified Pennsylvania’s economic loss rule and recognized that
employers have a common law duty to use reasonable care when collecting sensitive employee
data. 196 A.3d 1036 (Pa. 2018).

       In 2019 and 2020, Jamisen was selected to SuperLawyers - Rising Stars, a distinction given
to no more than 2.5% of his peers under the age of 40.

James P. McGraw, III

        Jim McGraw is a Pittsburgh native. After the decline of the steel industry in Pittsburgh in
the mid-1980s, Jim moved with his family to Northern Kentucky, where he grew up. Jim graduated
from the University of Kentucky with a degree in marketing. After college, Jim returned to
Pittsburgh to attend Duquesne University School of Law. While in law school, Jim became
involved with Duquesne’s prestigious moot court program, participating in a number of
competitions around the country, and culminating with he and his team winning a national
invitational trial advocacy tournament. Jim and his teammates received a formal Citation from the
Pennsylvania House of Representatives for their success.

        After earning his Juris Doctorate degree, Jim developed a broad litigation practice in which
he has represented a range of clients, including individuals, commercial entities, government
officials, and municipalities. Jim has experience litigating matters in state and federal courts
around the country, as well as in commercial arbitration and mediation. He also has extensive
experience at the appellate level, including arguing cases before the Commonwealth Court and
Superior Court of Pennsylvania. Jim has been recognized as a SuperLawyers Rising Star, a
distinction given to only 2.5% of his peers under the age of 40.

       Previously, Jim worked for a large Philadelphia-based law firm, representing clients from
such industries as construction, healthcare, insurance, and banking. In 2019, Jim joined Carlson
Lynch in order to focus his practice on the representation of consumers, employees, and other

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individuals who have been harmed by, or denied access to, important institutions and instruments
of commerce.

        Jim lives in Franklin Park, a Pittsburgh suburb, with his wife and children. He is an avid
sports fan who enjoys following the Steelers, Penguins, Pirates, and his Kentucky Wildcats. When
not practicing law, he enjoys fly fishing, pheasant hunting, and spending time with his family.

Elizabeth Pollock Avery

       Elizabeth was born and raised in Buffalo, New York. After obtaining her bachelor’s degree
from the State University of New York at Buffalo, she attended Indiana University- Bloomington
Maurer School of Law, graduating in 2012. While in law school, Elizabeth assisted indigent
members of society as a law clerk at the Monroe County Public Defenders’ Office and at the
Indiana University Disability Law Clinic.

         After graduating, Elizabeth moved to Pittsburgh and worked for a family law firm prior to
joining a Plaintiff side employment litigation firm in 2013. As a plaintiff’s employment litigator,
Elizabeth worked to right the wrongs committed against employees in a variety of areas of
employment law, including the Fair Labor Standards Act, the Family and Medical Leave Act, and
litigating cases dealing with sexual harassment, gender discrimination, race, age and disability
discrimination.

       Elizabeth’s practice is primarily split between the firm’s data breach and ADA practice
groups. She has also worked on cases involving consumer protection, labor and employment
including Fair Labor Standards and state wage law, and antitrust.

Kyle A. Shamberg

       Kyle is a Chicagoland native. After graduating from the Loyola Chicago School of Law,
magna cum laude, Kyle moved to New York where he worked first as a Staff Attorney at the U.S.
Court of Appeals for the Second Circuit and then at New York’s largest asbestos litigation firm,
handling complex motion practice and appeals on behalf of clients, largely former union tradesmen
and military servicemen, who had developed terminal diseases from their asbestos exposures.

       Since coming home to Chicago in 2014, Kyle has focused exclusively on litigating
consumer class actions, representing clients for injuries ranging from identity theft and financial
fraud as a result of a data breach to massive property damage caused by failing plastic plumbing
systems. He joined Carlson Lynch in 2019, where he continues to advocate for consumer and
privacy rights. Kyle has argued appeals in front of the Seventh and Second Circuits and the New
York Appellate Division. He is the former Chair of the Chicago Bar Association’s Class Action
Committee.




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Nicholas R. Lange

         Majoring in English with a concentrated study in philosophy, Nicholas attended the
University of Illinois at Urbana Champaign, the last six of months of which he lived abroad in East
Africa, broadening his horizons while completing coursework in international law. His work there
culminated in a presentation to the International Criminal Tribunal for Rwanda in Kigali, Rwanda.
Nicholas returned home to graduate from the DePaul University College of Law, with honors.
         During law school, Nicholas cut his teeth clerking at one of Chicago’s prominent complex
litigation firms. Initially after law school, his practice focused on representing condominium and
other common-interest communities— and their directors and managers— in all manners of civil
litigation, including fraud, tort, breach of contract, fiduciary duties, and corporate matters, and
including fights with developers, insurers, and municipalities. Since then, Nicholas has been, and
continues to be, involved in a wide variety of class litigation, including some of the most complex
class actions pending in the country.

Kristin Graham

        Kristy Graham is a native of Pittsburgh, Pennsylvania. She attended the University of
Virginia in Charlottesville and graduated in 1998 with a bachelor’s degree in environmental
sciences. Before returning to Charlottesville for law school, Kristy taught English in Madrid, Spain
and, later, worked as an analyst for Booz Allen Hamilton at its headquarters in Northern Virginia.
Kristy graduated from the University of Virginia School of Law in 2003. While in law school, she
served as an Articles Editor for the Virginia Law Review.

        Kristy began her legal career as a commercial litigation associate with Holland & Hart, a
Denver-based law firm with over 400 attorneys in 15 offices. While at Holland & Hart, Kristy was
involved in all aspects of litigation in federal and state court, from preparing pleadings and
conducting discovery through drafting dispositive motions and supporting briefs. Kristy was also
part of a multinational energy company’s defense team in a severance pay class action lawsuit
stemming from one of the largest mergers in U.S. history. Prior to joining Carlson Lynch in
January 2015, Kristy also practiced law with small firms in Pennsylvania and Colorado. Kristy’s
broad array of litigation experience includes general commercial, labor, and employment, ERISA,
oil and gas, real estate, and personal injury cases. Kristy works in all aspects of Carlson Lynch’s
complex litigation practice.

Matthew Brady

       Matthew was born and raised in Pittsburgh, Pennsylvania. His parents are from
McKeesport, Pennsylvania and he grew up in Penn Hills. Matthew joined Carlson Lynch as a
professional and educator with more than twenty years of experience living and working in
developing and emerging markets, designing and overseeing operations in the United States and
abroad, and providing policy recommendations to key stakeholders, including US and foreign
government officials.


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        Having lived or worked in parts of Africa, Asia, Europe, and Central and South America,
Matthew’s background enables him to assist corporate clients with cross-border banking and
financial transactions, debt management, employment and immigration matters, grant writing,
hospitality and tourism laws, nonprofit and for-profit tax matters, as well as federal and foreign
audits, and US federal regulations (BIS, FAR, State Department, Treasury Department, OFAC and
USAID).

        He has helped non-profit and for-profit organizations from the conceptual and start-up
phase to mature institutions, as well as distressed companies. His efforts have allowed
organizations to increase revenue, overcome institutional challenges and grow strategically while
maintaining good governance and compliance with domestic and foreign laws, including
international law, bilateral agreements and multilateral treaties.

        Matthew has been to the United Nations Commission on Human Rights in Geneva,
Switzerland four times as part of multinational delegations, and he has raised more $14 million for
projects with community groups, artivists, human rights defenders and social entrepreneurs in
Europe, Latin America and the United States. He has also published articles in the Miami
Herald, El Nuevo Herald, and Huffington Post and contributed to Freedom House’s human rights
publications Freedom in the World, Freedom of the Press and Freedom on the Net.

        Since joining Carlson Lynch, Matthew has augmented his portfolio to include complex
class action and multidistrict litigation in a range of areas, such as Americans with Disabilities Act
(ADA) compliance, antitrust, consumer protection, data privacy and digital security, financial
services and transactions, Medicaid/Medicare fraud, and fair labor standards and employment
practices. He also assists individual clients with estate administration, estate planning, and
individual claims.

       Matthew is proficient in French, Spanish and Russian.

Scott Braden

        Scott Braden is an associate who joined the firm’s San Diego office in 2019. He received
his J.D. from the University of San Diego School of Law in 2013, and received his
undergraduate degree from California State University, Fresno.


Tom Withers (Of Counsel)

        Tom Withers became Of Counsel to Carlson Lynch in June 2008, and often provides advice
and counsel to the firm regarding trial strategy. Tom graduated from the University of Georgia law
school in 1984. He also received his undergraduate degree from the University of Georgia. After
graduating from law school, Tom joined Oliver, Maner and Gray, in Savannah, Georgia, where he
was a partner from 1988 until 1990. While at Oliver, Maner and Gray, Tom was primarily engaged
in the defense of medical malpractice cases for physicians. During his six years with the firm,

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Tom tried approximately ten medical negligence cases to verdict, all of which resulted in verdicts
for the defendants.

       Thereafter, Tom joined the United States Attorney’s Office in the Southern District of
Georgia, where he remained for eight years. Tom initially served as an Assistant U.S. Attorney in
the Criminal Section before becoming Chief of the Criminal Section in 1993. Tom also served as
a Professional Responsibility Officer during his time with the United States Attorney’s Office and
was given the Department of Justice’s Director’s Award in 1997. In 1998, Tom left the United
States Attorney’s Office and became a founding partner of Gillen Parker & Withers (now, Gillen
Withers & Lake, LLC). Tom’s practice focuses on federal and state criminal defense,
Medicare/Medicaid fraud, and complex civil litigation.

        Tom is admitted to practice in the state courts of Georgia, the United States District Courts
for the Southern and Northern Districts of Georgia, and the United States Court of Appeals for the
Eleventh Circuit.




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